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                              IN TH mTITED STATES DISTRICT COURT
                                 FOR TEE DISTRICT OF NEW JERSEY




                                                           Hon. Peter G.          Sheridan
         UNITED STATES OF .ANERICA
                                                            Criminal No.: 09-130
         V.

         DAI,NAVE NAVIGATION,INC.,                                       ORDER
         PANAGIOTIS SThMATAKXS, and
         DIMITRIOS PAPADAKIS



                 This   matter    having      been    opened      to     the    Court       by Walder,

         1ayden & Brogan,         P.A.    (appearing by James A.                Plaisteci,           Esq,),

         attorneys      for Dimitrios        Papadakis,       for       a modification              of   Mr.

         Papadakis’       bail    conditions.        and    terms        of    release,            and   the

         United States Attorney for the District of New Jersey Ralph J.

         Marra,    Esq.    (appearing        by Kathleen       O’Leary)         having            consented


         hereto; and for good cause shown

                 IT IS ON ¶HIS      ‘I        DAY OF                             2009

                 OIDERED   that Mr.       Papadakis’       terms       of release are changed

         from today through and including April                         19,    2009,      so that Mr.

         Papadakis      may   leave    his    room at      8:00        a.m.    and return           to his

         room at    any time      up     to midnight       each day up until April                       20,


         2009.     The other terms of          release including the limitation on

         travel to the District of New Jersey remain the same.


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                                                     Hon. Peter G. Sheridan,                  U.S.]D.J.
